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A0 245B (Rev 06/05) Sheet I -Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRLMINAL CASE
                                                               CASE NUMBER:         8:05cr-530-T-30EA.J
                                                               USM NUMBER:          48371-018



ROCCO SARLEY, JR.

                                                               Defendant's Attorney: Eddie A. Suarez, ret.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Indictment.
  pleaded no10 contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED

                                    Conspiracy to Possess with the Intent to      December 15, 2005                   One
                                    Distribute and Distribution of LOO
                                    or more Marijuana Plants


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must nohfy the United States Attorney for this districtwithin30 days of any change
of name, residence, or d i g address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restiNtion, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence: January 24, 2007




                                                                                         S S. MOODY, JR.


                                                                                  DATE: January     a?,
A 0 245BCase   8:05-cr-00530-JSM-E_J
         (Rev 06/05)                               Document
                     Sheet 2 - Imprisonment (Judgment in a Criminal546
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Defendant:          ROCCO SARLEY, JR.                                                                     Judgment - Page 2 of 6
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                                                              IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $8
3553(a)(l)-(3, the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of FIFTEEN (15) MONTHS as to Count One of the Indictment.




-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed in a camp style
institution.


-The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
      -at - a.m.1p.m. o n -.
           -as notified by the United States Marshal.
-
X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on-.
           X as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Oftice.



                                                                    RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

-     at                                                                         , with a certified copy of this judgment.




                                                                                        United States Marshal

                                                                         By:
                                                                                        Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         ROCCO SARLEY, JR.                                                                             Judgment - Page 3of 6
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                                                         SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3)
YEARS as to Count One of the Indictment.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonmcnt and at least two periodic drug tests thereafter, as determined by the court.

         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
          the dcfendant shall not leave the judicial district without the permission of the court or probation otticer;

          the defendant shall report to the probation officer and sh:lll submit a truthti~land coinpletc written report within thc first tive days of each
          month;

          the defendant shall answer truthhlly all inquiries by thc probation otxcer arid follow the instructions of thc probation officer;

          the defendant shall support his or her dependents and rncet other family responsibilities;

          the defendant shall work regularly at a I;iwful occupation, unless excusctl by the probation ofticer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation ofticer at least ten days prior to any change in residence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, exccpt as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are i llcgally sold, uscd, distributed. or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall riot associate with any person convicted of a
          felony, unless granted pernlission to do so by the probation otticer;

          the defendant shall permit a probation ofticer to visit him or her at any time at home or elscwhere and shall pemiit contkcation of any
          contraband obscrvcd in plain \.iew of the probation ofticer;

          the defendant shall noti% the probation ofticer within seventy-two hours of being arrested or questioned by a law cnhrcernent ofticer;

          the dcfendant shall not enter into any agreement to act as an infonner or a special agent of a law cnforcenlent agency without thc
          permission of the court; and

          as directed by the probation ofiiccr, thc defendant slidl notify third partics of risks that may bc occasioned by thc defendant's criminal record
          or personal history or characteristics and shall pennit the probation ofticcr to make such notifications and to confinn thc deti-ndant's
          conlpliance with such notification requirement.
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A 0 2458 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
                     -   -   -



Defendant:         ROCCO SARLEY, JR.                                                        Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions pursuant to the Violent Crime Control Act are waived. However, the Court authorizes
         random drug testing for steroids and illicit substances not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Crimirlal Monetary Penalties (Judgment in a Criminal Case)

Defendant:          ROCCO SARLEY, JR.                                                 Judgment - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                          Fine                          Total Restitution

          Totals:            $100.00                             Waived                        N/A


-         The determination of restitution is deferred until         .       An Amended Judgrneirt in a Criminal Case ( A 0 2432) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 6
          3664(i). all non-federal victims must be paid before the dnited States.


 Name of Pavee                                 Total Loss*                   Restitution Ordered               Prioritv or Percentage




                             Totals:           L                             L

          Restitution amount ordered pursuant to plea agreement $
          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment. pursuant to 18 U.S.C. $3612(f). All of the payment optlons on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine         - restitution.

         -          the interest requirement for the - fine      -       restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 1 10, 1 10A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994. but before April 23, 1996.
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A 0 2458 (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        ROCCO SARLEY, JR.                                                         Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal ~nonetarypenalties are due as follows:

A.       -
         X Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                   . or
                             -in accordance - C, - D, - E or - F below: or
B.       -                                     (may be combined with -C -D. or -F below): or
                   Payment to begin i~n~nediately                                       I




C.       -         Payment in equal                 (e.g., weekly, monthly. quarterly) installments of $             over a
                   period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                  (e.g.. weekly, monthly, quarterly) installments of $               over a
                   period of
                                , (e .g .. months or years) to commence                     (e .g. 30 or 60 days) after release
                   from imprisonment to a term of supervision; or
E.       -       Payment during the term of supervised release will commence within                          (e.g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during ~mprisonment. All criminal monetary penalties. except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant nun~ber),Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:

-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees. The Court makes the Forfeiture Money Judgment [Dkt.376] a part of this judgment.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
